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11
12                      UNITED STATES DISTRICT COURT

13                    CENTRAL DISTRICT OF CALIFORNIA

14                                WESTERN DIVISION

15 CARPENTERS SOUTHWEST                      No. 2:16-cv-08040-MWF-SK
   ADMINISTRATIVE
16 CORPORATION, a California non-            NOTICE OF APPERANCE OF
   profit corporation; and BOARD OF          NICHOLAS J. BEGAKIS ON
17 TRUSTEES FOR THE                          BEHALF OF DEFENDANTS
   CARPENTERS SOUTHWEST
18 TRUSTS,                                   Assigned to Hon. Michael W. Fitzgerald
19                       Plaintiffs,
20 v.
21 HKB, INC., an Arizona corporation,
     doing business as SOUTHWEST
22 INDUSTRIAL RIGGING; HARRY
     KENT BAKER, an individual;
23 SCOTT WILLIAM MILLER, an
     individual; JAMES DOUGLAS
24 WILSON, an individual,
25
                         Defendants.
26
27
28
                                                     {01118440}NOTICE OF APPEARANCE OF
                                                                  NICHOLAS J. BEGAKIS
      Case 2:17-cv-00198-DJH Document 21 Filed 12/22/16 Page 2 of 2




 1 TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2        PLEASE TAKE NOTICE of the appearance of Nicholas J. Begakis as
 3 counsel of record for the Defendants in the above-captioned matter. It is
 4 respectfully requested that, going forward, copies of all pleadings and notices
 5 pertaining to the above-entitled matter be forwarded to counsel at the following
 6 address:
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12
13
                                                 LimNexus, LLP
14
15
16 Dated: December 22, 2016                By:         /s/
                                                 Nicholas J. Begakis
17                                               Attorneys for Defendants
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28                                                    {01118440}NOTICE OF APPEARANCE OF
                                                                   NICHOLAS J. BEGAKIS
